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 5                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 6                                  AT SEATTLE

 7
          ALICE MCCOY, et al.,
 8                              Plaintiffs,
 9            v.                                        C19-1641 TSZ

10        HOLLAND AMERICA LINE - USA                    MINUTE ORDER
          INC., et al.,
11
                                Defendants.
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13        The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
14
          (1)    The Court SETS a telephone conference call for Friday, November 13,
   2020, at 11:00 a.m. The Court will address whether to conduct the jury or non-jury trial
15
   remotely using the ZoomGov.com platform. The Court’s staff will be in contact with
   counsel to provide a conference call number and access code; and
16
          (2)    The Clerk is directed to send a copy of this Minute Order to all counsel of
17 record.

18         Dated this 9th day of November, 2020.

19
                                                    William M. McCool
20                                                  Clerk

21                                                  s/Gail Glass
                                                    Deputy Clerk
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     MINUTE ORDER - 1
